              EXHIBITD




Case 5:17-cv-00534-H Document 15-4 Filed 04/04/18 Page 1 of 2
Re: [4-7072000019403] New Copyright Counter-Notification
                                                                                                                       Tue, Oct 17, 2017 at 11:1 5 AM




                   We received he attach ed counter notification in response o a complaint you filed with us_

                   We're providing you with the counter notifica ion and awan eviden ce (in no· more than 10
                   business days) that ymtve filed an adion seeking a court order against the counter notifier to
                   resllam the allegedly intnngin~ ac ty_In most cases, such evidence woukl1nclude a lawsuit.
                   against the uploader who filed the counter notification. which names the specific You Tube
                   URL(s) at issue_

                   If we don' receive notice from you. we may reinstate th e ma.elial to YouTube.
                   If you have any quesllons. please contact copynght@Youtulle .com.

                   Coun er-Notificabon as fotrows:
                   Videos included in counter-notification·

                        • h pJ,O,w;l'•.youtube.com/walch?v=uTx8ewXikaU

                   msplay name o uptoader.· · · ·
                   I did notin~ rong lllis stnke is all wrong 1was moddin~ in a video game l!la isnt against
                   youtubes TOS Why was 1sllikedl!l
                   I swear. under pena lty ot peljury, that t have a good tarth belief the rnatenat was removed due
                   to a mistake or miSidentification of the material to be removed or disabled.
                   1 consent to the julisd1c on ot Ule Fecteral Oisllid Court for the distrid in which my address is
                   located or Hmy address IS outside ol the Unrted SI<Jtes, the judicial d•slrid in whiCh YouTube
                   IS located. and will accept service ot process from the claimant.




                   He p center · Ema~ opbon~ • Report spam

                   ~201,   YouTube LLC 9111 Cherry Ave, San Bruno, CA 941>66, USA




        Case 5:17-cv-00534-H Document 15-4 Filed 04/04/18 Page 2 of 2
